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Case 3:18-cr-05579-RJB Document 625: Filed 06/18/19. Page 1 of 2

 

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CLERK US. DISTRICT C
5y WESTERN DISTRICT OF WASHINGTON AT TACOMA

 

 

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Magistrate Judge Theresa L. Fricke

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

UNITED STATES OF AMERICA,

Plaintiff,
Vv.
MICHAEL JOHN SCOTT,
Defendant.

AT TACOMA

NO. CR18-5579RBL

CONSENT TO RULE 11 PLEA IN
| AFELONY CASE BEFORE A
UNITED STATES MAGISTRATE
JUDGE

 

 

 

 

I have been advised by my attorney and by the United States Magistrate Judge of my

right to enter my plea in this case before a United States District Judge. I hereby declare my

intention to enter a plea of guilty in the above case, and J request and consent to the

acceptance of my plea by a United States Magistrate Judge pursuant to Rule 11 of the

Federal Rules of Criminal Procedure. I understand that if the United States Magistrate J udge

orders the preparation of a presentence investigation report, the assigned United States

Hf
HM
//

CONSENT TO RULE 11 PLEA |
CR18-5579RBL/ MICHAEL JOHN SCOTT - I

UNITED STATES ATTORNEY

. 1201 PACIFIC AVE, SUITE 700

TACOMA, WASHINGTON 98402
(253) 428-3800
 

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Case 3:18-cr-05579-RJB Document 625 Filed 06/18/19 Page 2 of 2

District Judge will then decide whether to accept or reject my plea of guilty and any plea

agreement I may have with the United States and will adjudicate guilt and impose sentence.

. . do
DATED this {B® day of June, 2019.

z-

MICHAEL JOHN SCOTT
Defendant

 

 

AMY MUTH
Attorney for Deferfdant

APPROVED:

a Cli

“MARCI L. ELLSWORTH
Assistant United States Attorney

CONSENT TO RULE 11 PLEA UNITED STATES ATTORNEY

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